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 1   MARK J. REICHEL, Bar #155034
     Attorney At Law
 2   555 Capitol Mall, 6th Floor, Suite 600
     Sacramento, California 95814
 3   Telephone: (916) 498-9258
     Fax:       (916) 441-6553
 4   mark@reichellaw.com
     www.reichellaw.com
 5
 6   Attorney for Defendant
     NICHOLAS CRAIG
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     ) NO. CR-S-07 -145 FCD
11                                                 )
                           Plaintiff,              ) AGREEMENT FOR EXTENSION OF
12                                                 ) SELF SURRENDER DATE
            v.                                     )
13                                                 ) DATE: JULY 16, 2007
                                                   ) TIME: N/A
14   NICHOLAS CRAIG et al.                         ) JUDGE: HON. KIMBERLY J.
                                                   )     MUELLER
15                                                 )
                   Defendants.                     )
16                                                 )
17
     __________________________
18
19          It is hereby stipulated between the parties hereto that the date
20   for the self surrender of this defendant shall be continued to the date
21   of July 23, 2007. The defendant had oral surgery the week of July 2nd,
22   and his follow up appointment and removal of stitches in his mouth is
23   set for July 16, 2007.
24          DATED: July 25, 2007.                    Respectfully submitted,
25                                                   MARK J. REICHEL, ESQ.
26
27                                                   /s/ MARK J. REICHEL
28   Agreement to extend date for self surrender
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 1                                              MARK J. REICHEL
                                                Attorney for NICHOLAS CRAIG
 2
                                                McGREGOR W. SCOTT
 3                                              United States Attorney
 4
            DATED: July 25, 2007.               /s/MARK J. REICHEL for:
 5                                              BENJAMIN J. WAGNER
                                                Assistant U.S. Attorney
 6                                              Attorney for Plaintiff
 7
                                          O R D E R
 8
          IT IS SO ORDERED. All other orders, terms and conditions of the
 9   defendants release shall remain in full force and effect.
10   DATED: July 25, 2007.
            nunc pro tunc
11          to July 19, 2007.
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     Stip on self surrender #2                  2
